 

 

Case: 1:05-cv-05661 Document #: 907 Filed: 11/05/09 Page 1 of 53 PagelD #:84693

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
)
FLINT HILLS RESOURCES, LLC, )
)
‘Third-Party Plaintiff, )
) Case No. 05 C 5661
v. )
)
BP AMOCO CHEMICAL COMPANY, )
)
Defendant. )

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Nitag Stata, District Oca

JURY INSTRUCTIONS

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Members of the jury, you have seen and heard all the evidence and arguments of the
attorneys. Now | will instruct you on the law.

You have two duties as a jury. Your first duty is to decide the facts from the evidence in the
case. This is your job, and yours alone.

Your second duty is to apply the law that I give you to the facts. You must follow these
instructions, even if you disagree with them. Each of the instructions is important, and you must
follow all of them.

Perform these dutics fairly and impartially. Do not allow sympathy / prejudice / fear / public
opinion to influence you. You should not be influenced by any person’s or party’s race, color,
religion, national ancestry, scx, or place of incorporation.

Nothing | say now, and nothing | said or did during the trial, is meant to imdicale any opinion

on my part about what the facts are or about what your verdict should be.
 

 

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The evidence consists of the testimony of the witnesses and the exhibits admitted.
 

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During the trial, certain testimony was presented to you by the reading of depositions and
video. You should give this testimony the same consideration you would give it had the witnesses

appeared and testified here in court.
 

 

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Certain things are not to be considered as evidence. | will list them for you:

First, if I told you to disregard any testimony or exhibits or struck any testimony or exhibils
from the record, such testimony or exhibits are not evidence and must not be considered.

Second, anything that you may have seen or heard outside the courtroom is nol evidence and
must be entirely disregarded. This includes any press reports or Internct materials you may have
seen or heard. Such reports and materials are not evidence and your verdict must not be influenced
by them in any way.

Third, questions and objections or comments by the lawyers are not evidence. Lawyers have
a duty to object when they believe a question is improper. You should not be influenced by any
objection, and you should not infer from my rulings that I have any view as to how you should
decide the cuse.

Fourth, the lawyers’ opening statements, interim statements, and closing arguments to you
are nol evidence. Their purpose is to discuss the issues and the evidence. If the evidence as you

remember ii differs from what the lawyers said, your memory is what counts.
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Any notes you have taken during this trial are only aids to your memory. The notes are not
evidence. [f you have not taken notes, you should rely on your independent recollection of the
evidence and not be unduly influcnecd by the notes of other jurors. Notes are nol entitled to any

greater weight than the recollections or impressions of each juror about the testimony.
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In determining whether any fact has been proved, you should consider all of the evidence

bearing on the question regardless of who introduced it.
 

 

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You will recall that during the course of this trial I instructed you that I admitted certain
evidence for a limited purpose. You must consider this evidence only for the limited purpose for

which it was admitted.
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You should use common sense in weighing the evidence and consider the evidence in light
of your own observations in lifc.

In our lives, we ofien look at one fact and conclude from it that another fact exists. In law
we call this “inference.” A jury is allowed to make reasonable mlerences. Any inference you make

must be reasonable and must be based on the evidence in the case.
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You may have heard the phrases “direct evidence” and “circumstantial evidence.” Direct
evidence is proof that does not require an inference, such as the testimony of someone who claims
to have personal knowledge of a fact. Circumstantial evidence is proof ofa fact, or a series of facts,

that tends to show that some other fact is true.

Asan cxample, direct evidence that it is raining is tesumony from a witness who says, “I was
oulside a minute ago and I saw it raining.” Circumstantial evidence that it is raining is the
observation of someone entering a room carrying a wet umbrella,

The law makes no distinction between the weight to be given to either direct or

circumstantial evidence. You should decide how much weight to give to any evidence. In reaching

your verdict, you should consider all the evidence in the case, including the circumstantial evidence,

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You must decide whether the testimony of each of the witnesses is truthful and accurate, in

part, in whole, or not atall. You also must decide what weight, ifany, you give to the testimony of

cach witness.

In evaluating the testimony of any witness, you may consider, among other things:

the ability and opportunity the witness had to see, hear, or know the things that the

witness testified about;

the witness’s memory;

any interesl, bias, or prejudice the witness may have;
the witness’s intelligence;

the manner of the witness while testifying;

and the reasonableness of the witness’s testimony in light of all the evidence in the

HSE.

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You may consider statements given prior to trial by a witness under oath as evidence of the
iruth of what he said in the carlicr statements, as well as in deciding what weight to give his

testimony,

With respect to other witnesses, the law is different. If you decide that, prior to trial, one of
these witnesses made a statement not under oath or acted in a manner that is inconsistent with his
testimony here in court, you may consider the earlier statement or conduct only in deciding whether

his testimony here in court was true and what weight to give to his testimony here in court.

In considering a wilness’s prior inconsistent statements or conduct, you should consider
whether it was simply an innocent error or an intentional falsehood and whether it concerns an

important fact or an unimportant detail.

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It is proper for a lawyer to meet with any witness in preparation for trial.

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You may find the testimony of one witness or a few witnesses more persuasive than the

testimony of'a larger number. You need not accept the testimony of the larger number of witnesses.

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The law docs not require any party to call as a wilness every person who might have
knowledge of the facts related to this trial. Similarly, the law does not require any party to present

as exhibits all papers and things mentioned during this trial.

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You have heard witnesses give opinions about matlers requiring special knowledge or skill.
You should judge this testimony in the same way that you judge the testimony of any other witness.
The fact that such person has given an opinion does not mean thal you are required to accept it.
Give the testimony whatever weight you think it deserves, considering the reasons given for the

opinion, the witness’s qualifications, and all of the other evidence in the case.

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Certain summaries offered by Flint Hills are in evidence. It is up to you to decide if the

summaries are accurate.

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Certain demonstrative exhibits have been shown to you. Those exhibits are used for
convenience and to help explain the facts of the case. They arc not themselves evidence or proof

of any facts,

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Transcripts of the trial testimony will not be available for you to consult.
 

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THE FOLLOWING INSTRUCTIONS
APPLY TO THE

BREACH OF CONTRACT CLAIM

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Flint Hills claims that BP Amoco breached the Purchase and Sale Agreement (“PSA”) by

breaching the following representations and warranties contained in Section 7.1(d)(ii) of the PSA:

l. “Seller represents and warrants to Buyer, as of the date of this Agreement, and as of
the Closing, as follows: ... The annualized maximum demonstrated sustainable
production of the I'MA, purified isophthalic acid and MAN production units at the
Joliet Plant are 71,000 metric tons, 170,000 metric tons, and 51,000 metric tons,
respectively, with the product produced meeting Sellcr’s standard specifications
therefor, recognizing that such demonstrated capacity docs not take into account
planned or unplanned downtime.”

2. ““Scller represents and warrants to Buyer, as of the date of his Agreement, and as of
the Closing, as follows: ... All of the Joliet Plant process units and buildings are
structurally sound... .”

3. “Seller represents and warrants to Buyer, as of the date of this Agreement, and as of

the Closing, as follows: ...[A]l] tangible Assets have been maintained substantially
in accordance with normal industry practice... .”

4, “Seller represents and warrants to Buyer, as of the dale of this Agreement, and as of
the Closing, as follows: ... [A]ll tangible Assets .. . are in substantially good
operaling condition and repair for their age (taking account of their nature, normal
wear and tear and continued repair and replacement in accordance with Seller’s past
practice)... .”

Because cach representation and warranty in Section 7.1(d)(ii) of the PSA was made “as of
the date of this Agrecment, and as of the Closing,” a representation and warranty was breached if

iL was untrue as of March 29, 2004 or May 28, 2004,

Flint [Hills further claims that it sustained damages from BP Amoco’s breaches of the

foregoing representations and warranties.

BP Amoco denies that it breached any of the foregoing representations and warranties, BP

Amoco further denies that Flint Hills sustained any damages from any such breach.

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In determining whether the representations and warranties were breached, you should
determine the meaning of the representations and warranties by considering the language of the PSA

and the evidence presented by the parties.

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I will now instruct you on the elements of liability for Flint Hills’ breach of contract claim.

Flint Hills has the burden of proving each proposition by a preponderance of the evidence:
First, the existence of a valid and enforceable contract.
Second, that Flint Ilills substantially performed ils obligations under the PSA.
Third, that BP Amoco, the seller, breached a representation and warranty.

Fourth, that as a result of the breach of contract, Flint Iills sustained damages that were

caused by the breach.

If you find from your consideration of all the evidence that each of these propositions has
been proved by a preponderance of the evidence, then your verdict should be for Flint Hills. On the
other hand, if you find from your consideration of all the evidence that any onc of these propositions

has not been proved, then your verdict should be for BP Amoco.
 

 

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When I say a particular party must prove something by “a preponderance of the evidence,”
or when | use the expression “if you find,” or “if you decide,” this is what I mean: When you have
considered all the evidence in the case, you must be persuaded that it is more probably true than not

true.

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Flint Hills is entitled to rely upon and to enforce each representation and warranty BP
Amoco made in the PSA, even if at the time it was made Flint Hills suspected, or in fact believed,

the representation and warranty was untruc.

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The following terms used in the PSA mean, as a matter of law, as follows:

With regard to the representation and warranty that: “The annualized maximum
demonstrated sustainable production of the TMA, purified isophthalic acid and MAN production
units at the Joliet Plant are 71,000 metric tons, 170,000 metric tons, and 51,000 metric tons,
respectively, with the product produced meeting Scller’s standard specifications therefor,
recognizing that such demonstrated capacity does nol lake into account planned or unplanned
downtime.” “Maximum” is an upper boundary which actual rates may fall below. “Downtime”

means when the production units are not operating and, as a result, have zero outpul.

With regard to the representations and warranties that: “[A]ll tangible Assets have been
maintained substantially in accordance with normal industry practice ... ,” and “[AJ]]li tangible
Assets... are in substantially good operating condition and repair for their age (laking account of
their nature, normal wear and tear and continued repair and replacement in accordance with Seller’s
past practice)... .” The term “all tangible Asscts” includes each and every tangible assct at the

Jolict Plant.

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Section 13.5(a)(i) of the PSA requires that, in order to assert a claim under the PSA, Flint

Hills (“the Indemnified Party”):

“shall with reasonable promptness send to the Indemnifying Parly a written notice
specifying, to the extent known, the nature of such Claim (or the basis of a claim
which could give rise to Losses), setting forth the specific facts and circumstances
that are the basis of such Claim in reasonable detail, the amount of Losses sought in
such Claim (the actual amount of the Losses or, if practicable, a reasonable, good
faith estimate thereof if the actual amount is not known or not capable of reasonable
calculation) and the provisions of this Agreement in respect of which such night of
Indemnification is claimed or arises (a “Claims Notice”), provided that, delay or
defect in notifying the Indemnifying Party shall not relieve the Indemnilying Party
of its obligations under this Agreement except to the extent that (and only to the
extent that) the Indemnifying Party demonstrates (1) such failure shall have caused
the Losses for which the Indemnifying Parly is obligated to be greater than such
Losses would have been had the Indemnified Party given the Indemnilying Party
timely notice, and (2) the amount of such Losses . . . .”
 

 

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The term “good faith” mcans honesty in fact and the absence of bad faith.

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If you decide for BP Amoco on the question of liability for breach of contract, then you

should not consider the question of breach-of-contract damages.

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If you decide for Flint [ills on the question of BP Amoco’s liability for breach of contract
based on one or more representations and warranties, you will have the occasion to delennine
breach-of-contract damages. Flint Hills has the burden of proving the correct measure of damages
by a preponderance of the evidence.

Flint Ilills has the burden of proving a reasonable basis for its computation of damages.
While llint Hills is not required to prove damages with mathematical precision, the law requires that
damages be proved with reasonable certainty. Damages cannot be based on conjeciure and
speculation. Flint [Tills cannot recover for future damages unless they are reasonably ccrtain to

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T will now give you more specific instructions about how to calculate damages for a breach

of contract in this case.

‘The agreement between Flint Hills and BP Amoco is binding, and in the course of applying
these instructions, you must abide by the following provisions of the agreement in determining the
amount of damages for breach of contract, if any, in this case, 1 will also instruct you about Illinois

law, and you are to follow this law in making your determination.
Article | of the PSA provides, in relevant part:

“Tl osses’ means any and all losscs, damages..., claims..., obligations...,
liabilities, [and] costs... .”

Section 13.2(a) of the PSA provides, in relevant part:

“To the fullest extent permitted by Law, [BP Amoco]. . . hereby agrees to
Indemnify [Flint Ilills], .. . from and against, any and all T.osses incurred or
required to be paid by [Flint Hills]... which arise out of, relate to or result from
any of the following: (a) any breach of any warranty or represcntation of [BP
Amoco| contained in Section 7.1.”

Section 13.4(q) of the PSA provides, in relevant part:

“Time expended by personnel of [Flint Hills] or... in connection with a [claim]
will not be cansidered Losses hereunder.”

Section 13.6 of the PSA provides, in relevant part:

“TBP Amoco] will not be liable to Flint Hills for . . . loss of use, special, indirect,
incidental, or consequential damages suffered by [Flint Hills], howsoever arising
under this agreement, whether based on breach of warranty, breach of agreement,
statute, strict liability or otherwise, including without limitation negligence of [BP
Amoco].”

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In calculating the damages that may be recovered for breach of contracl, you should apply

the following procedure.

With respect to each representation or warranty that you find was untruc, you should assess
as damaves those Losses arising out of, relating to, or resulting from the breach of contract. You
have been presented with two alternative measures of damages: Cost of Repair and Diminution in

Value. I will instruct you how to determine which measure of damages to apply here.

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First, | will explain the Cost-of-Repair measure of damages.

Under the Cost-of-Repair measure of damages, a buyer is to be compensated by the seller
for the reasonable expenses necessary to pul the property he has purchased into the condition that
it was represented and warranted to be in. Although this measure of damages is called the Cost of
Repair, the buyer’s damages are not limited to the costs of “repairing” the purchased property, but
include rcasonable expenses necessary to put the property into the condition represented and
warranted in the PSA, including, in appropriate circumstances if shown by Flini Hills, the cost of
replacing the purchased property.

You should not award Flint Hills damages that would put Flint Hills in a better position than

if no breach had occurred and if the PSA’s representations and warranties had been true.

Under the Cost-of-Repair measure, Flint Hills may recover its estimated future costs lo pul
the purchased property into the condition represented and warranted, if you determine that Flint

Hills has proved these cosis are reasonably certain to occur.
 

 

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Now I will explain the Diminution-in-Value measure of damages.

The Diminution-in-Value measure is the difference between the fair market value of the
property purchased by Flint Hills and the fair market value that the property would have had if the

property had been in the condition BP Amoco represented and warranted.

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If you find a breach of contract based on one or more representations and warranties, you
should assess as damages Flint Hills’ reasonable expenditures necessary to pul the purchased
property into the condition represented and warranted, including the amount you find that Flint Hills
is reasonably certain to incur in the future to do so, in accordance with the Cost-of-Repair measure,
unless you conclude, {rom your consideration of the evidence, that such an amount would be
unreasonably disproportionate to the benefit to the purchaser or grossly disproportionate to the
results obtained, in which casc you should instead award Flint Hills the differcnce between the fair
market value of the purchased property as actually delivered, and the fair market value the purchased
property would have had if the property had been in the condition represented and warranied, in

accordance with the Diminution-in-Valuc measure.

It is for you to decide which of these two measures of damages to apply, and what the

appropriate amount of L'lint Hills’ recoverable damages should be.

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A party cannot recover damages it could have prevented by taking reasonable steps and using
commercially reasonable efforts when it learned or should have learned of the breach. The burden
is on BP Amoco to prove that Flint Hills failed to minimize its damages and that the damages should

be reduced by a particular amount as a result.

In this case, BP Amoco claims and has the burden of proving that, by taking reasonable steps
and using commercially reasonable efforts, Flint Hills could have avoided some losses in whole or
in part, even though its losses originally resulted from BP Amoco’s failure to keep its promise. If
BP Amoco proves that Flint Hills could have avoided some Josses in whole or in part by taking
reasonable steps and using commercially reasonable efforts, you may not require BP Amoco to pay
the amount Flint I]ills could reasonably have avoided, and you must subtract any such amount from
the amount of damages you have found. If you find that Flint Hills incurred costs in taking
reasonable steps and using commercially reasonable efforts to avoid such losses, you must make an

award to lint Hills for such costs.

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The purchase price allocation that you have heard evidence about is not a limit on the amount
of damages that Flint Hills is permitted to recover in this case, if you find that damages are

appropriate.
 

 

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Because Flint ITills does not have aclaim for Jost profits in this case, you should not consider
evidence of the actual post-sale financial performance of the PCBU or the Joliet Plant on any
substantive issue in this case. You may only consider such evidence to the extent, if at all, it may

affect the reliability of the pre-sale projections used by any expert witness.

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THE FOLLOWING INSTRUCTIONS

APPLY TO THE FRAUD CLAIM

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Flint Hills claims that the following representation made by BP Amoco in Scction 7.1(d)(1)

of the PSA was a false statement of material fact:

“Seller represents and warrants to Buyer, as of the date of this Agreement, and as of
the Closing, as follows: ... The annualized maximum demonstrated sustainable
production of the TMA, purified isophthalic acid and MAN production units at the
Jolict Plant are 71,000 metric tons, 170,000 metric tons, and 51,000 metric tons,
respectively, with the product produced meeting Seller’s standard specifications
iherefor, recognizing thai such demonstrated capacity does not take into account
planned or unplanned downtime.”

‘This representation will be referred to herein as the “Production Capacity Representation.”

Because cach representation and warranty in Section 7.1(d)(ii) of the PSA was made “as of
the date of this Agreement, and as of the Closing,” the represcntation is false if it was untrue as of

March 29, 2004 or May 28, 2004.

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1 will now instruct you on the five elements of liability for fraud. llint Fills has the burden

of proving each of the following propositions by clear and convincing evidence:
First, that BP Amoco made a false statement of material fact.

Second, that BP Amoco either knew the statement was (alse, or believed the statement was
false, or made the statement in reckless disregard of whether it was true or false. Alternatively, that
BP Amoco knew the statement was capable of two interpretations, one of which it knew to be false

and the other true, and BP Amoco made it:
(a) with the intention that it be understood by Flint Hills in the sense in which it is false, or
(b) without any belief or expectation as to how it would be understood by Flint Hills, or
(c) with reckless indifference as to how it would be understood by Flint Hills.

Third, that BP Amoco made the statement with the intent to induce Flint Hills to enter into

the PSA.

Yourth, that Flint Hills reasonably believed the statement and entered into the PSA in

justifiable reliance on the truth of the statement.
Fifth, that Flint Hills’ damages resulted from such reliance.

Tf you find (rom your consideration of all the evidence that each of these propositions has
been proved by clear and convincing evidence, then your verdict should be for Flint Hills. On the
other hand, if you find from your consideration of all the evidence that any of these propositions has

not been proved by clear and convincing evidence, then your verdict should be for BP Amoco.

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When say that a particular party musi prove something by “clear and convincing evidence,”
this is what | mean: When you have considered all of the evidence, you are convinced that it is

highly probable that it is true.

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When I use the word “material” | mean the misrepresentation must have been an essential
element to the transaction, and had Flint Hills been aware of the truth, it would have acted

differently.

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Reliance is “justifiable” when it is reasonable in light of all the circumstances. All the facts
which Vlint Hills had actual knowledge of as well as those it might have lcarned through the exercise
of ordinary prudence must be taken into account. A party cannot justifiably rely on a representation

when il knows the representation is false,

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if you decide for BP Amoco on the question of Hability for fraud, then you should not

consider the question of fraud damages.
 

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If you decide for lint Hills on the question of BP Amoco’s liability for fraud, you will have
the occasion Lo determine damages lor [raud. Flint Hills has the burden of proving a reasonable
basis for its computations of damages. While Flint ITills is not required to prove damages with
mathematical precision, the law requircs that damages be proved with reasonable certainty.
Damages cannot be based on conjecture and speculation. Flint Hills cannot recover for future

damages unless they are reasonably certain to occur.

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If you find for Flint Hills on the question of labrlity for fraud, you must then fix the amount
of money which will reasonably and fairly compensate Flint Hills for its damages. Flint Hills must
prove that its claimed damages were proximately caused by BP Amoco’s fraud. When | use the
expression “proximate cause,” | mean a cause which, in ihe natural and ordinary course of cvents,

produced Flint Hills’ damages.

You should apply as the measure of damages cither (1) the amount of reasonable expenses
necessary to enable the purchased property to achieve the production capacity that BP Amoco
represented to Flint Hills, including such expenses that will in the future be spent or incurred, if
proven with reasonable certainty; or (2) the difference between the fair market value of the
purchased property with iis actual production capacity, and the fair market value the purchased

property would have had, if it had the production capacity BP Amoco represented.

Whether either measure of damages has been proved by the evidence is for you to determine.
You should not award Flint Hills damages that would put Flint [lills in a better position than if no

fraud had occurred and if the PSA’s representation and warranty had been truc.

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‘The law provides that a party cannot recover damages it could have prevented by exercising
ordinary care and diligence when it learned or should have learned of the fraud, The burden is on
BP Amoco to prove that Flint Hills failed to minimize its damages and that the damages should be
reduced by a particular amount as a result. In this case, BP Amoco claims and has the burden of
proving that, with reasonable efforts and ordinary carc, Flint Hills could have avoided some losses
in whole or in part, even though its losses originally resulted from GP Amoco’s fraud. IF BP Amoco
proves that Flint Hills could have avoided some losses in whole or in part with reasonable efforts
and ordinary care, you may not require BP Amoco to pay the amount Flint Hills could reasonably
have avoided, and you must subtract any such amount from the amount of damages you determine.
Tf you find that Flint [lls incurred costs in making a reasonable effort to avoid such losses, you

must make an award to Flint [ills for such costs.

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During your deliberations, you must not communicate with or provide any information to
anyone by any means about this case. You many not use any electronic device or media, such as
the telephone, a cell phone, smart phone, iPhone, Blackberry or computer, the Internet, any Internet
service, any lext or instant messaging service, any Internct chat room, blog, or website such as
Facebook, My Space, LinkedIn, YouTube or Twitter, to communicate to anyone any information
about this case or to conduct any research about this case until I accept your verdict. In other words,
you cannot talk to anyone on the phone, correspond with anyone, or electronically communicate
with anyone about this case. You can only discuss the case in the jury room with your fellow jurors

during deliberations.

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Upon retiring to the jury room, you must select a foreperson. The foreperson will preside

over your deliberations and will be your representative here in court.
Forms of verdict have been prepared for you.

Take these forms to the jury room, and when you have reached unanimous agreement on the

verdict, your foreperson will {ill in and date the appropriate form, and all of you will sign it.

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You are free to deliberate in any way you decide or select whomever you like as a
foreperson. However, 1 am going to provide some general sugpestions on the process to help you
get started. When thinking about who should be the [oreperson, you may want to consider the role
that the foreperson usually plays. The foreperson serving as the chairperson during the deliberation
should ensure a complete discussion by all jurors who desire to speak before any vote. Each juror
should have an opportunity to be heard on every issue and should be encouraged to participate, The
foreperson should help facilitate the discussion and make sure everyone has a chance to say what

he or she wants to say.

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I do not anticipate that you will need to communicate with me. If you do need to
communicate with me, the only proper way is in writing. The writing must be signed by the
forcperson, or, if he or she 1s unwilling to do so, by some other juror. The writing should be given
to the marshal, who will give it to me. If you do submit a question, | must show it to the lawyers
for each side and consult with them before responding. I will respond cither in writing or by having

you return to the courtroom so that | can respond orally.
 

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The verdicts must represent the considered judgement of cach juror. Your verdicts, whether

for or against the parties, must be unanimous.

You should make every reasonable effort to reach a verdict. In doing so, you should consult
with one another, express your own views, and listen to the opinions of your fellow jurors. Discuss
your differences with an open mind. Do not hesttate to reexamine your own views and changc your
opinion if you come lo believe itis wrong. But you should not surrender your honest beliefs about
the weight or effect of evidence solely because of the opinions of other jurors or for the purpose of

reluming a unanimous verdict.

All of you should give fair and equal consideration to all the evidence and deliberate with
the goal of reaching an agreement that is consistent with the individual judgment ofeach juror. You

are impartial judges of the facts.
